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                                                                                                          Page 1   of3


  Jason Lien ' RE: Shaw % NAS discovery call


 From:                Jason lien
 To:                  Brendan Winslow-Nason; Thorn Darling
 Date:                912U20L31:25 PM
 Subject              RE: Shaw       v. NAS discovery call
 CC:                  David Suchar; O'Connor, James; Todd Hayes; Wílliam F. Knowles
 Attachments: vcard.vcf


 Brendan / Thom - Attached is our proposed e-discovery search for your clients that ¡s submitted pursuant to
 Paragraph C2 of the court's protective order. Please let us know by Tuesday of next week,if this proposed list is
 acceptable, thanks. Brendan, you can get us your proposed list when you have it ready next week,

 Seerch tsrms: Shaw, Shaw Process Fabricators, pipe spool(s). spool endorsement, REC, REC Solar Grade Silicon,
 Moses Lake, 9690210297, 3866607, 6180, DV:X0000138 00, D\D(0000204 0L, DVI(0000246 02, DU(0000246 03,
 D\ 10000139 00, D\0(0000205 01, D\D(0000247 0¿ Du(0000247 03

 Custodians:

 NAS: Rick Loomer, Dewayne Mundell, Les Czerepa( Vincent Eckles, Allen Blum

 Endurance: Blenda Eyvazadeh, Pamela Asbury, Mark Ying, Sherry Dunn, Loma Mdntyre

 Zurich: Leo Bigley, Joseph Kostkowskl Diane Picone, Noreen Ryan, Joy Taylor, Rose Marie Orcino Madruga, John
 Mahoney, Elizabeíth Lambie, Chris Gibson, James Wardrop, Deborah Purkey, Todd Schweitzer, Joseph Piekarski,
 Randy Marmar

 Date range of search:

 From Septernber 1, 2005 to October 24,20t1.




Jason Llen I Partner
lsgon.liên(Ðmaslon.com
(p) 612.67?.831e | (0 612.642.8319


                                                                                                            EXHIBIT
MASLON
Maslon Edslman Bo¡man & Brand, LLP
                                                                                                     U
3300 Wells Fargo Cenler                                                                              L
90 South Sev€nth Slreet
Mlnnespolls, MN 55402-41 40
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                                                                                                     J
www.rtlá,Élon.com I mao/dlr€ctions


>>>'Winslow-Nason, Brendan" <BWinslow-Nason@cozen.com> 9/2U201312:30 PM >>>
Todd - I wlll provide you with a line-by-line response soon. ln the meantime, can we ägree to push back the e-
discovery disclosure. We are still coordinating with our clients regarding proposed custodíans and keywords.

                                                                                                         EXHIBIT A
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            Case 3:12-cv-00257-JJB-RLB           Document 344-1         08/07/14 Page 2 of 12



                                     GAUDRY, RANSON'
                                HIGGINS & GREMILLION' L,L,c,
                                              A1-TORNEYS AT LAW
                                                                                  WILLIAM H. VOIGT
THOMAS L, GAUDRY, JR.                 OAKWOOO CORPORATE CENTER
                                       401 WHITNEY AVE,, SUITE 5OO                A. MARK FTAKE
DANIEL A, RANSON                                                                  JAIRO F. SANCHEZ
DARYL A. HIGGINS                         GRETNA. LOUISIANA 70058
                                                                                  RYAN C. HIGGINS
GREGORY G, GREMILLION                                                             ELIZABETH A. LIUZZA
WADE A, LANOLOIS, III                                                             JOHN J. DANNA, JR.
MICHAEL D, PEYTAVIN                          N¡-AILING
                                                   ADDRESS
STEVEN D. OLIVER                              P,O, Box 1910
THOMAS W. DARLING                      GRETNA, LOUISIANA 70054-1 91 O
                                              1504) 3ô2-24€6
                                                                                  BATON ROUGE OFFICE:
                                         FACSI'¡/lLÉ (504) 362-5938
                                                                                  2223 QUAIL RUN DR.. C-2
                                          WEBSITE; www,grhg'net
                                                                                  BATON ROUGE, LA 70808
Of Counsel                                                                        (225) 663-ô101
E. RALPH LUPIN, M.0,, J.D.                                                        izzsi oo¡-ot o2 FAcslMlLE
STACIE PETERSEN NEHLIG                                                            Sendet's e.mail:
                                          WRITER'S DIRECT DIAL:
                                              (504) 376-1360                      wlanglols@grhg,nol


                                           January 24,2014


       VIA EMAIL Jason,Lien@maslon,com
       Jason Lien
       Maslon Edelman Borman & Brand, LLP
       3300 Wells Fargo Center
       90 South Seventh Street
       Minneapolis, MN 55402'4140

       VIA EMAI L todd@harperh ayes' com,
       Todd C, Hayes
       Harper HaYes PLLC
       One Union Square
       600 UnlversitY, Sulte 2420
       Seattle, WA 98101
                                                                                Company' et al
               RE:     The Shaw Group, lnc,, et alv. Zurlch Amerlcan lnsurance
                       usDC lr¡ioolu oirtrlct of lõu¡ilana Docket No. 3112'cv'257
                       Our File No, 262 -2118

       Dear Jason and Todd:
                                                               your clients The shaw Group and
               Attached is the proposed e-discovery search for
                                                                   previously issued by the coutt
       Shaw process Fabricators submitted pr1.láni to the orders
       in this matter.




                                                                                            EXHIBIT

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January 24,2014
Page2

                                           Yours very trulY,
                                           /s/Wade A, Langlols /dPI
                                           Wade A, Langlole, lll

WALlll/dpl
Enolosure
ãò: aren¿an Winslow.Nason (Vla emall: Bwlff¡low'Nason@co#ln'oom)




G:\0262U1 l8\CORRESPONDËNCE\Llen and Hayee 0001,wpd
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    ELECTRONIC SEARCH TERMS


    Date Range:       9ltl08 - L2/3lll2

    Shaw custodlans¡
    Stephen Adams
    Stove Adams
    Daniel Tenell
    Steve Allison
    Robert P, Brown

    Search terms:
    Zurich
    Endurance Services Limited
    NAS
    North American SpecialtY
    Ace Westchester
FARA
Willis North America
Settlement
Settle
Mediation
Mediator
Blenda Eyvazzadeh
be.v,vazzadeh@enduran                     !99.:É914
Ronald Struhs
Ronalcl,struhs        @   acegroup, com
Tom Weinberger
Tom,Weinber ger           @   acegroup' com
Kimberly Cunningham
Kí mberly.cunn i¡gham            @   fua. conl
Amy Ragusa
Amy.ragusa@fara.com
Anita Shales
Anita,shales @ f,Ara.com
Patrick McGinleY
Patrick,mcginely @ will is, com
Tammy Bush
Tammy.bush @ willis,com
Monte Badasarian
Monte, badasarian          @   willis.com
Mark Mqxwell
John Heisse
J   ohn., heiss e @   pill sbur'.vlaw, cott:
   Case 3:12-cv-00257-JJB-RLB                Document 344-1   08/07/14 Page 5 of 12




Brian Homza
brian.hofnza   @   cookyancey.com
Leo Bigley
Leo,bigley@ purichnq'com
John Mahoney
John, w.mahoney @ zurichna,cotn
Joe Kostkowski
Jog., kgstkowski @ zurichna' com
Debbie Purkey
Debbig,purkey @-4urichna. com
Rose Madruga
Rose,madruga @ zurichna.com
Wostchester
Griffith Nixon
Scott Griffith
ssriffith @ gndlaw.com
Tony Jach
tjachQgndlaw,com
Jason Cagle
jcagle @ gndlaw,com
Baker Donelson
Danny Shaw
dshaw   @   bakerdonelsott,com
Roy Cheatwood
rcheatwood @bakerdonelson,com
Regina Hamilton
Regi! a,Hamilton @ shaw gry, com
KimberlyLaHaYe
Kimberly, LaHaYe           @   shawgrp'com
Kimberly RoY
Kimbgly,Roy @ shawgrp'com
John Donofrio
John, Donofrio     @   shawgqp.cont
Dave Chapman
Dave, ChaPman      @ sh        aw erp.cogr
Remi Bonnecaze
Remi. Bo¡rnecaze       @    shaw glP.com
Chuck Bradford
Chuck, Bradford @ shaw grp'com
Mike Kershaw
Mike,.Kersh aw     @   s   haw grp'co-tn
TPD
Claims
Unbundled
ROR
  Case 3:12-cv-00257-JJB-RLB   Document 344-1   08/07/14 Page 6 of 12




Reservation of Rights
defense
REC claim
deductible
Oles
attorney fees
Jen'y Marks
j¡sgks @milþaLk,com
James Whooley
jwhooley@milbqnk.com
Leslie Weatherheacl
lwlibertas @ aol,com
TPA
               Case 3:12-cv-00257-JJB-RLB                   Document 344-1             08/07/14 Page 7 of 12
                 Case 3:L2-Iv-00257-JJB-RLB Document                     326-7 07l28lL4 Page L of 3

Jason Lien

From:                               Wade Lang lois <WLanglois@g rhg.net>
Sent:                               Thursday, December 19, 2013 2:I2PM
To:                                 Jason Lien
Cc:                                 David Suchaç James O'Connoç Todd Hayes
SubJect                             RE: Shaw Group Discovery




Thanks for the reply Jason.

Iwill talk to zurlch about the ESl search. I don't thlnk the terms of the search make the search any more problematlc,
we were just trylng to save everyone the trouble of going through a bunch of lrrelevant documents with some
agreeable reasonable alternatlve dfscusslons.

we can schedule Leo Blgley and the 30(b)(6)forJanuary 14 and Joe KostowsklforJanuary 15' I am stlllworking on the
others. please confirm these ASAP so we can get them on the calendar. Bigley will address most of the 30(b)(6) issues.

                               to llmit the Madruga and Mahoney deposltions in anyway. I was slmply try¡ng to explain
For the record, I was not trylng
their situations and come to an agreeable way to take their depositlons.



Frcm: Jason Llen [mallto:Jason.Uen@maslon.com]
Sent: Thursday, Dæember 19, 2013 1:31 PM
To: Wade Langlols
Cc: Davld Suchar; O'Connor, James; Todd Hayes
Subject: Re: Shaw Group DlscoverY
                                                                                                                request first
Wade - Thank you for confirming that Zurich has not searched and produced ESI in resPonse to Shaw's
made on Septémber 27th. We don't believe Shaw's ESI request is as broad as you suggest. It included
                                                                                                               a limited
                                               (see Exhibit A to my  declaration submitted    ln support  of  the  12113Ä3
custodian list, search terms, and a time range
                                                                                       with our  suggested    parametens   to test
motíon). Has Zurich attempted to conduct a search ln these custod¡ans' accounts
whether they will produce å l.rg. volume? If not,I would suggest Zurich fir$ do that If       testing the  sêarch   does-produce
an unreasonably large set with non-rrrponrive documents, please provide me with suggested alternative
                                                                                                                  tenns for
consideration, please note that shaw's willingness to consider alternatíve terms in no w6y waives Shaws right
                                                                                                                       to argue
                                                                                      thât  was  submitted   in  conjunction  with
that Zurich has waived any right to object to Éhr*'r proposed    e-discovery  search
                                                                        Zurich  will be  producing   all documents    without
its request for production of documents to Zurich, Shaw also expects
objectlons, consistent wlth the Court's October 10th order.

                                                                                                         produced in a PST
 As to format, we are fine with Zurich producing the ESI in a native format provided that the emails are
 file 0 am assuming Zurich is using Outlook).

 As for deposition scheduling, please propose some specific dates for each of the Zurich depositions
                                                                                                     we noticed. shaw
 will not agree to limit the dãpositions of Mr. Mahoney and Ms. Madruga or conduct   them  by telephone         /
 videoconference, For our sciredulíng purposes, please note that Shaw is taking the Rule 30(bX6) deposition of NAS
                                                                                                                    in
                                                                                                     can you please
 Los Angeles during the week of January 20th (on January 22 and 23). W¡th respect to Mr. Boehning,
 provlde us with his last known address and telephone number?

                                                                                                     prompt production
 Thank you for responding to the other miscellaneous document issues. we will look forward to their
 so as not to delay the Zuiich depositions. please let us know when we can expect to receive those documents.



                                                                 I                                           EXHIB¡T

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                 Case 3:I2-Iv-00257-JJB-RLB Document                     326-7     071281L4 Page        2oÍ3




MASLON                              JASON A. r¡Ef{ | PARTNER
                                     p6t2.672.83t9 l f612,642.8319 l emall l vcard l biography l linkedin
                                    MASTON EDEIMAN BORMAN & BRAND,lIP
                                    3300 Wells Fargo Center,90 South Seventh Street, Mlnneapolls, MN 55402
                                    p 612,572.8200 | www.maslon.com I map/directions


>>> Wade Langlois <WLanglois@grhg,nel> t2ll'8/2013 4:24 PM >>>

Jason,

I have been working with Zurlch on the dlscovery lsues and wanted to Sive you an update.


Zurich was not aware of the e-discovery requests, but we are gettlng on these ÆAP. I would lutgest we talk about the
search terms, however. For lnstance, you have deslgnated "Shaw' as a search term. lf Zurlch does a search for thls
term any file that ever dealt with anyone named Shaw will be found and some untold millions of documents could be
produced. "REC" ls another example. Anytlme those three letters are found together will be ldentlfled ln a search and
would result ln . Thls ls the same for all the requests so the more we can narrow the search the smaller the production
would be, lf we could nanow the search then lt would be more efflclent for everyone. Let me know if we can dlscuss
thls.

Zurlch's tech people also have told me that the best way to make the productlon would be ln natlve format' This
                                                                                                                would
be easier to organlze and handle. I don't pretend to know anything about these klnds of tech terms so let me know
what you thlnk and lf this is acceptable.

On the deposltlons, as I previously wrote you, it looks lÌke the week of the z0th of January would be best.
                                                                                                            Zurlch has
reguested that I ask if John Mahoney and Rose Madruga could be done by telephone or teleconference because these
people had narrow lnvolvement wlth the lssues and thelr deposltlons should be relatlvely short compared to Bigley and
Kostowski. lt would be a hardshlp to ask them to travel for what should be fairly speciflc deposltions.

I have also confirmed   that John Boehnlng ls not employed by Zurlch and has not been for some tlme.

The UW file for the 2OO? -2008 pollcy has not been produced. I have requested lt and will produce lt.

The documents w¡th mlsslng llnes and blank spaces. We dld not redact these and provlded the coples we had. I have
requested that Zurlch go to the original files and produce additlonalcopies and conflrm that nothlng has been
redacted.

I have requested the Unbundled TPA Guldellnes.

Zurlch is looking lnto the "DJ file" lssue.

The listed documents that were not produced was lnadvertent, Bates numbers 48,7L9,73G'36, and 738 wlll be
fomarded under separate cover.

I arn also confirmlng that the claim handling guldelines have been produced.

Feel free to call if we can dlscuss any of thís.

                                                                2
                   Case 3:12-cv-00257-JJB-RLB              Document 344-1       08/07/14 Page 9 of 12
                      Case 3:l-2-cv-00257-JJB-RLB Document          326-7 07l28lL4 Page 3 of 3
Wade A, Langlols,lll, Partnør

Gaudry, Ranson, HlggÍns & G¡omllllon, LLC

401 \Mltney Avenue, Suite 500

Gretna, Louisiana 70056

Phone: (504)302-2466

Fax    (504)362-5938

Ernall: wlanglois@orhg.net

This e-mail communlcati
reciplent named and ma
you er€ hereby notified t
copying of this communi
lmmediately by telephone (call collec-t at 504-362-2466) to make anangements for returning the orlglnal e-mallto us'




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                Case 3:12-cv-00257-JJB-RLB                   Document 344-1         08/07/14 Page 10 of 12


Wade Lanqlois

From:                            Jason Lien <Jason.Lien@maslon,com>
Sent:                            Sunday, January L9,2014 2:25 PM
To:                              Wade Langlois
Cc:                              David Suchar; todd@ harperhayes.com
Subject:                         RE: Shaw Group ESI Status
Attachments:                     lU   ntitledl-1,pdf;   vca rd.vcf




Wade - Thanks, Attached is my letter that sets fotth those documents,




MASLON                        JASON A. L|EN    I   PARTNER
                              p612.672,8319 | f 612.642.8379 | email I vcard I biography I linkedin
                              MASLON EDELMAN BORMAN & BRAND, LLP
                              3300 Wells Fargo Center,90 South Seventh Street, Minneapolis, MN 55402
                              p 612.672.8200 | www.maslon.com I map/directions


>>    > Wade Langlois <WLanglois@grhg.net> L/78/20L4 2:42 PM              >>>
Jason,

The custodians being searched are the ones specified in the emailyou forwarded to us.

The Claim Best Practices Manuals attached have previously been produced and are the what Zurich uses that fits your
term "Claims Procedures Manual". Can you remind me what other hard copy files you believe we owe you at this
time? l've been through so much correspondence and documentation in the last month it's hard to keep track.

From: Jason Lien [mailto:Jason.Lien@maslon.com]
Sent: Thursday, January 16,20L4 10:39 AM
To: Wade Langlois; todd@harperhayes.com
Cc: David Suchar
Subject: Re: Shaw Group    ESI Status

Thanks, can you please let us know the custodians you are searching? Can you also please give us an update on
production of the hard copy files, which include the Zurich claims procedures manual? Thanks again,




MASLON                        JASON A. UEN I PARTNER
                              p672.672.8319 | f 612.642,8319 | email I vcard I biography I linkedin
                              MASLON EDETMAN BORMAN & BRAND, LLP
                              3300 Wells Fargo Center,90 South Seventh Street, Minneapolis, MN 55402          EXHIBIT
                              p 612.672.8200 | www.maslon.com I map/directions
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                                                                                                        F
>>> Wade Langlois <Wlanglois@grhg.net>             IlI6l20t410:33        AM   >>>                      J
                                                                                                       J
                                                                                                        (t)
                                                                                                              )
Counselors,

Here is a status on the Eslsearch. T2Ofileswere identified in the search with the requested terms. 420of those have
been processed so far and have produced over 3 TB's of data. We are reviewing this data. The processing of the other
300 files continues on a priority basis. Again, because of the size of the request, this is a lengthy process.

                                                                     1
                Case 3:12-cv-00257-JJB-RLB                  Document 344-1       08/07/14 Page 11 of 12


Wade Langlois

From:                              Wade Langlois
Sent:                              Tuesday, May 13, 2014 3:05 PM
 lo:                               'Jason Lien'
Cc:                                todd@harperhayes,com; David Suchar
Subject:                           RE:Shaw Production



l'm sorryJason, but I don't understand your position. Shaw filed the Motion stating that full production had not been
made and outlined specific items. Why would you not know what you need at this time? Zurich and I have tried very
hard to comply with the requests and the court's order since I got involved. I am not trying to place any additional
burden on Shaw, I thought we could work toward a solution that satísfied both sides so our clients won't be burdened
wíth expense related to massive document production of duplicative and irrelevant material. Shaw will have to examine
the production once it is made for deficiencies as you point out so wouldn't it be easier for both sides to just figure out
what is "deficient", if anything, before we get there? You and I did some work on this back in December and January. I
thought I had satisfíed everything except the ESI at that time and that was the only issue when we started depositions. lf
I am wrong then I willgladly fix it, Obviously, a lot has happened in discovery that the Magistrate did not know about.
Because ofthe breadth and vagueness ofthe ESI search terms, the search and organization ofthe records has been a
monumentaltask which has taken months, lf your client wants you to review allof these írrelevant and useless records
then so be it. We will produce them, but it seems like this is more of a game of "gotcha" than anything else at this point.


From: Jason Lien [mailto:Jason.Lien@maslon.com]
Sent: Tuesday, May 13, 20t4 2:40 PM
To: Wade Langlois
Cc: todd@harperhayes,com; David Suchar
Subject:   RE: Shaw Production

Wade-Thanksforyouremail, lwillgetbacktoyouonthepayeeinformationyouhaverequested. Astotheproduction
ordered by the court, we refuse to have you place the burden on Shaw for Zurich's compliance with the order. You and
Zurich need to spend the time to examine what Zurich has already produced and determine what additional production
needs to occur in accordance with the order. lt isn't Shaw's burden to pay lawyers or paralegals to find out what's
owing. Once we have your production, we will let you know if we believe there are any deficiencies,



MASLON                        JASON A. L|EN   I   PARTNER
                              p 612.672.8319 | f 612.642,8319 | email I vcard I biosraphv I linkedin
                              MASTON EDETMAN BORMAN & BRAND, LLP
                              3300 Wells Fargo Center, 90 South Seventh Street, Minneapolis, MN 55402
                              p 612.672.8200 | www.maslon.com I map/directions




From: Wade Langlois fmailto:WLanglois@qrhg.net]
Sent: Tuesday, May 13, 2014 2:25 PM
To: Jason Lien
Cc: todd@harperhayes.com; David Suchar
Subject: Shaw Production

Jason,
                                                                                                             EXHIBIT


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I wanted to follow up on the Order from the Magistrate yesterday. Our firm is issuing a check for the total amount of the
sanctions and this willgo out to you shortly. Who should it be made payable to? We will need a W9.

As you know, we have been working on the ESI and will begin production. A majority of the documents produced by the
search are claims which involved the name "Shaw" but are completely unrelated to the REC claim. The Order says we
should produce it, but do you really want all of these documents? Let me know what your preference is, We will
produce them if requested,

I thought we had resolved the other issues/production addressed in the Order, but it has been a long time. ls there
anything else you believe we owe you at this time? We, of course, want to be in full compliance with the Order so please
let me know.
lf anything else needs to be addressed, please let me know also.




Wade A. Langlois,lll, Partner

Gaudry, Ranson, Higgins & Gremillion, LLC

401 Whitney Avenue, Suite 500

Gretna, Louisiana 70056

Phone: (504)362-2466

Fax: (504)362-5938

Email: wlanglois(Ogrhg.net

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